----Gase 4:02-cv-40275-.JEG._.Document 1 F_i|ed_O_G/lZ_/OZ_. P_age _1_ of 10_

IN THE UNITED STATES DISTRICT COURT
7 "T mHER) I RI T 5 T H'-~ ~\~ ~ q
-OR Tn# SQP-. wl Q”ST`_C_ O *OE&MHLNWMJHMblUMW
C;NTRAL D;JISLON

&:~c»'"c§uv\j,.. Ql~rf\v\ ”.\.\T- ,

V‘EE .
bepcmhmvi\* c)(; Ccf\'z£;¥\cv\$ L`:\WXCQ)
_R\_\§£u i§oc.z.r;~',\: w /.~,3 cL rcle,v\

T d '*

__ __~_,__ ._._\._~

 

 

 

- \_/ \1\,\/\/`_/§\_/-_/\_/\_»\,
w
[.l 111 :1) @z m
n 1
1) G}
g
|~§
@
w
¢==a

I, .¢~H~~»»’(\_\QV\ §§ (`\Ju’f\f\. TJ`C , declare that I ar the

~,-»- .- ~ J_ _. ._.. '_._. -._ ~`,.. .` " »- ___ ._-_. ___ - ¢ ~

_=':_L.=S». gc :.:':C::f:_ ~_u::<:ldu :E-_ q :'=';j..;:='; L: h._ED.~_J \.::e ;':J_1 -~ ~;»

;...: _ .___,. _ -__ ,__,_ ... ._ : . ,_` ___, - _`1 -

‘_:-, ’_ S»_:.~_.:_'. ;."].c_~.. )._.¢:C.:.‘_"S<: C_. U.‘ CC\¢’::-\..\»‘ l __. E..`l U;"’~:",.:_._?. 113 "J`”=*"E_ f ""T=>
_ - _ -..H. ~___._

.':-, -_ -.'-`,_.-\ ..f~' 1-‘"`,_ _ _ -\- ..._- _‘ ‘,_.` ._-- ‘-

__._....,.L_- ._:: “C_"__ \._._.-_..:: c.C.___CI`, \_.".::.\.. _'_, :¢:;_'__7._:45. _‘_ ~"”`j E_:"\_T_:_`_:'T__Er~ 23 ~,-.-`. ~:,:
- _': .._.__,.,,...,.. 1-.~-~,-`-- 5 -~~ ` __- .-. _ _.... - _ - ~
_."'. _`..._ \..--:__ S\..::_.\.J_\_ C_. \__-__S &§.."Q____Cc'.u._l_._.""f _ c__ SWQ§'_' vii -':]l `__‘H __C.

..Case A:OZ=c\/_=.A,QZ?B-JEG Document.l Filed 0_6[12/,02 _ Page 2 of 1_Q______

 

 

md /
3_ woman do you expect to be released? {@Ak!wu¢n'

4_ AI£ you presently receiving an allo;§hce or wages from th
priscn er jail? / , If the answer is YES, state th
amount of your allowance or wages per month. /q/JYW

5_ gave you received within the past 12 months any mone‘ from
business, profession or other type of self-employeeut, or ln th
form of rent payments, interest, dividends, retirement or annuity
life insurance, q;fts, inheri_ances, court award or settlemedt, o
Other 50¢:;;5? abi If YEE, q;ve the amount rece;vec an

identify the eources:
_Q_m`;_lb_\_§;|;\.'i¥\+ : CA`;:»;QIDK;mL'\;l.\& m?\`\.QMY\H-SCBC:VE£ ’ILD'*/$‘/(T[§‘O@`

P_ r` _‘\ ¢’,‘ ')
:FC\"\\)\.¢‘ ¢\\‘H'_S :;;m;;m.'mime+|l 200 g
.l J ' ;§

 

 

 

 

roles, o
ncuse.`::c"_<
ks , etc .

§ro;ert

 

 

 

 

 

 

 

 

Commlsslon Numbar 707340

M C mmi ion Explres
/,b&¢;;'l@; _

 

l\]

 

 

":... ~ .:C&S€-4202.-CV-402-7'5-JEG DOCUment 1. -Filed 06-/!1-2-/02-- Page..?, Of-.-J;G._._-..... . .

 

 

 

- {
`¢
the
-k- -L- ' ~
m L_\.~ '_ @/SHE
rs confrneo- 1 furtner certlrj that toe aptlicant ll?e~ise has tha
followirc sectr;t;es to his/her'cred;t accordinc to the records of
sale lostltutLon:

 

 

 

 

 

Case 4:02-CV-40275-.]EG Document 1 Filed 06/12/02 Page 4 of 10

DC\H“ \/ Co\mt\ r\\.kQé g . ,

J(:M,\$ '\l\t¢ rmj heads jw\v\¢*» FQP//',/¢“ rl,°"" §¢`>+ 5‘3”“[
/</`nd ma p/a$»SL/H’€ W@® b»u`lc|}'aj up in ,`1~, ".FI_ hew lee-w
jj@+¥ir-»% serious headache river via e¢_¢odem" w
"'\'\w`+ kane been SE‘F\;G So bed `H”¢f`}' `H?@'jj [<€`€P m{ `[i'“""`
jl_gg,p'm% q+ r\§jk'\r md jcmz.hmf.é }{|C£ here i-’\ ~H\e
Pa<g+ data ~'\Snc~_-d'\)a b<h\ §§L+H`r\§ 5a bad rmj agng S'/'a»/‘/'
1b \,c@r}'»lv” end `I: mfg of l manna Scr'ea/v\ C’.c’/»L.La>'€ `/'1/11:7»
\ww"\r se \sm_l,

M Lm\uf ')~\11."\3 ~\'¥m nquQCR.J\/] W?Lzr‘m > C(\'Cl usl-ven
€$h£,_€'£¢ma ”\'c> %»QIL r“v'w.. u;,cLS C.heel(. m<j vH'&l 5)'3»’\5 QVIQ./ j£mr)
gaps ”L¢<z,\\ \'):z_ should be Q\CG`\.L:\

il hau,m`¥ bean would ao ar ED‘H'DW\ \Ov\v\\i `-\-'~`rv\

SM\ on top which e\,\“mm@d{celh +M mun/se SL\Q\,L\A op
rejecest@.c\ mt -+D be _ev\ ,_b:>+\'ev»~ h\h\c, A\so %e,ri`§. no
Fc»§\¥na`) am `\'N. ulO\\\ ‘?n¢' pape +o \»~ns\o 665 ~"rkeu) Be,»%‘ down
H\c:\'S most @¥ `\~\¢\Q_ reas¢v\ 1 gail ocu,\&€ ":l'_ bee no+\~\'\r\§
“rb ¢:)mb arb-old op +Cz CGL+CM m¢\,fgelpy

Cuw£,£\"\or\c'~l O§S\CQF own CoftHL'f\ `\3 'H\L \O@""$O“ LD}‘C’
Seq,n mt ~@a\\ cl second `¥\¢\‘\Pt etc m C@\\ S'WD\ C'~“\L\ \Cm£\

CW\ "Wl% §'\¢~‘W 'PCLUL doum~ \~‘re`o ‘\-N.. cwa who he\c\ mg head
Q,-QT_-’ \-\nr¢ -C\mm’ un+§l "_.i`_ rQ,c`-je:\nd QN\SCZOMSMQJ§» "T\»~m_»'\ \\»vH
`\'\1\@¥.<\ me wmqu auer '*ro `*\Ar\a boe\\» 141 elec s-`|rz:§f@\ +\~@~+
wham __\:_ p{;-\~ ‘+wt filter a §§EL§EA +\`MQ. +\w~+ ii hit )`+
§§th \w_rA/» +L\'¢_§ he 54'0.'{'€6 +b\,s@_w_l§ -Hto. nurse

/3( Q,Q\_\_QK,L Oi€- §¢»-;)_Q_QLR who L@\+Y\Q_SS€Q{ it cwa A'cxm»f\ jans§c’rl,
\/\’r\c_v\~za\ DM\QQJ ®%v|BB "c’a]

Av\é G>lev» Lo»'\§ \\BJQSV has w`\+vw_:s.se¢l W.L wang \ni¢jh+§

11 YTC\\)C\/L`)F 5`\_§@)1’ QJ\A. c¢\k du meader and complain§n¢) j:,¢_/q
¢§zme. o.\oc»\+ ma '\c\ec\¢\dac\r\li$ mut ¥¢\L \i‘v\'\L f\n<jl'iv\~'j ¢'15`\:.~9$
m mud Q;,NS>.

wr¥\\rz_:>stg ~» é\w¢,v\ ij@ns~sw\, \/Y\`\c.w.¢~\ Dm\baw oec'~l$§%,
C-,\U\ \~M\Q5 \\z,q<g@u, F<M TL\W,~ md "o;m gmi-lien -

Case 4:02-CV-40275-.]EG Document 1 Filed 06/12/02 Page 5 of 10

zu§\o see mw

%;® woec_ iepqu

v\v~u\ wo wwooow& w_ %esw?®~ wo msd/43 tow cow/eat /?;

». ©`JOC _ crt\s)\»_ &.@ +_. UC.WW cyr m).)o./»_DE

U

md mae raw ms+w+w _,QY§EU¢ o©

,[.M.l

- - ---CaSe--4:OZ-cv-4OZ75-JEG._..Docume.m.l._- Filed.06/1_2/C12 ____Page§,of .10..._.-. _

FORM TO BE USED EY A PRISONEB IN
UNDER THE CIVIL RIGHTSHACT,

UNITED STATES DIS
ERN DISTRICT O

IN THE
SOUTH

L¢:Q”§‘E*~.\B~\`

 

 

 

 

 

I'.
4

;nter'aoove the ;oeL name eeo

nmete career o: toe oiaiztir:

~..- " _.' __£_:£_ -,'.-. -'»-~` .-. _s__,"

_ oia_:t___s ii t"ie accioo)
vE_

Tfawma thdl¢al
FGH+QF
boger-l'ww_n+ c~.¥ C.erec.+q`mm$

Rtaq
4

and C \0.55 '\'Fi La~i"l C)\,»\

gec§\e\' w c“\_/¢,Ja\rozn

 

 

(E:ter above toe ?ULF n"me of
each defendant il this actico)
NGL;: li there is more trac GNE §leistiff, a
attached §iv;tc tra information in carts I a
by oame.)

I. ?revicus Leweuits:

A_ Eave you begun other lawsuits
oaalinc witt tie same facts ir
otherwise relating to your imp

E 15 your answer to a is Yes, el
l thru 7 on next oa§e. (If th
describe the additional lawsui
using tie same outli“e.)

titles A
eZ U.S.C-
Ta:ct too
F rosa

 

is state c
volvec it
rison n
ease aeswe
ere is mor
ts ot asst

CCMPLAINT
51983

23'.*'

-\_

___.\_.._._....~__

l` 'C :_"`: C._'~_:
e that ct
ser steet

@inm

lll r_'

Case 4:02-CV-40275-.]EG Document 1 Fi|e_d 06/12/02 _ Page 7 of 10

},_J
’U
m
H
r r
\ ~l
nn
m
rr
0

this previous lawsuit

i"\"\:b”=» \\\~

*r!
\'_'
pa
}~"
11
{T
\J
T l\
} n
Ul

 

De:'er-.ciants K\\;j&.m)~

 

 

b_z
l:J
0
9
,*\
fl!
: l
[“.
:I|
try
(D
1 f
§
kj
{)
tv

\f`L
L:‘
01
,i
|"J
0
| l
L,l
[j
nn
\f]
m
FT
U
il
ri
0
il
0
m
m
[D
11
m
U]
Ul
m
b l
nfl
{;f
U]
fm
§§
§§
(<'S

 

 

 

 

 

 

5- D;`_s::os'_tiot, if ’<--ow:: (:'or e;<ar..jole: Was tr:e case
ois-.`isse/i? c/\?as it aojoealec`_? ls it still §er.oi:g?)
»{`§\ 1
§\}‘:~1~.\"_\.}~/
T
€- _`~‘.ttrof."_rate date of filing lawsuit !\_BO_/\_,'
- - - w
7. .`~_:oro_-ir.ate cate cr ois"_:os"_tio:: ; O,Gv’?
, ,._.
?lace o_ :reser.t otr_:er.er_u \ \`\'\CC
.1_- I a priso:;er grievartce procedure ;_-_ ;_~_;5 i;~_ST_;:.___
".f' dc l l
E. Dio`_ voa oreser.t t_'le facts relating to vc;x-- C»~;,-__;;W_,-;-_p_: ;_~_
_ _ _ _ '_` _ "' _ _' _ r
state trisoter crie'ra::ce §rocec.tre: ies [@§ x uoLY
C. I:' 'our "".s'~er '_'= ‘;’.-.S \'/

 

   
   

 

   
   

rn rn.,~ v¢w"j G..»;C{
`.'/ ~§mwv\ cmdl\`-;\
`.T. was denied a QJL.‘£U_Q:§C.?
-va\ MA, was +s\A t shells ml 1b .u,a+ H,,_(_M garth
§§ b.\f\’\>'é' l-\Rim;io'{’\\@\‘j meant -\-\'\."\5 firm/35 §/\,(

[\_)
I'

...._. ' ..` 1..
.~¢_-_: T_,.".'-:": I:_":`\`\_r._-..o?

 

[3_ If <_/o'r answer is NO, Ei€?lF-i-’l ""';"-':' Z`-C`~ !\->“°JW,

 

l“l

- CaSe-4:02-cV-402~75-.]EG- Document 1 Fi|e.d 06/12/02 Page 8.0f 10

h]

 

 

 

 

 

 

(I: item § oelow, place your came in the first blatk and plat
vcur tresent address is the secood blank. Do toe same for
additional tlai:tiffs, ii an;.)

 

 

 

 

c|'

 

 

 

 

 

 

 

 

 

 

 

 

{J"l
{\.
}.l
n
ff
}1
(]
ri

This complaint is :::uoot pursuant to 42 U.S.C. § 1983, and
jurisdiction is based co 23 U.S.C_ § lE¢E(c). Plai:tiif(s)
allece{s) that the defe:oa:t(s) acted under color of state le
with retard to the facts stated in ea:; v of :1;5 raws:s:n¢_

-~~G-ase?$:02»CV-40275--.JEG -Docu-ment“l. Filed 06112/02 Page_ 9_ 01‘_1_0_ _

\J’_-

 

 

Statement of Cla im ‘ ; r-
\'.

(State here as briefly as oossihle the ?ACTS of your oase_ y
HUST state exactly what each derendant personally did, or iii
to do, which resulted in barn to you- Include also tee names
of other persons involved (for example, other i:mates) and st
tha date and place of all events. Attach an e;tra sheet if
necessarv, and write tne headioo PAPT V CONTZHUED at the §Eg
tsa sneet. Kee; to the facts- 0o not give any legal arguméd
or cite any cases )

Qv’\ $w`\<:l.erj mow-1 acllt'k AL,OQ~ oe`l‘ e»p.-¢x,`.-m?%/¢,,» /O`C“ ,lQ.-.mM
B unl‘l‘ ln' poll 331 (cfclc'l\ )- C¢.u'rn') osc-5 Crci,¢l.nq C,U+ mg

 
     

mejh 41erer lmL mw /waa/ ah Ma _.W'<l¢i@/:%/m bank C)m-;» cl,.-pp¢l
`I n.\ll,,cl nrwl:¢=\.?ll2 ha m/u peel empl Sc:zL down rm mv S‘%m/ »‘*/l'.‘S roe
§§ `“'§_lr's$£l€l myer m 0.;" J.. §JCR_SS'Z¢:|JL¢+ and ‘ll:l?,l\ ojrle'o +lu> -Clzu\’.
l:l,Qx:l +lw`m% "I_ new "up oa+ +Lis clark l~\lulrru iii.f~on. cream I as
mg --l?a£w\$ j reo/intl TL._'¢-v-\ lookile arl“ `{’A.ll Alw" chon (arr€czéaw
f ” ll-`. o mslmc;rl all: ~l-lu; Srm.mrl .L. s»’r up owl mm ooaLr\S+

 

 

 

'~'». l'\l LC\.NNZ.C.'\".\{:\*\&\ O~mll{ JQC~.llS 'l”l‘\.L l`U.M"SL?S S'i'£<'l‘l¢.`-W '~'.(--‘uif\Q

§ J
j_:\\ail'hyj\azl cw\ mmal'\l silva u..‘.~CLS l»mm~\j el §le$u.vc».-» C`-l’\(;L ~_l:l'\i l'\uf§`é’
g`\@j$ ¢\-\wro `.§T_ -\-nl¢l hew -l-l}ct+ ll~ was n¢~l- or sll§surl earl +l)e:t “r` lm"l~ n
' ~“ \ <lcj'n$ oncl Soltl `l~lr\e.l' I S‘l'uw.ld be olcczu

A|AA '\/l\QY\ CL¥‘l'-Ql" '\'¥\Ct`l"_ QU.PFU}?EA'L;\ 'Hr»l~'\.\¢.§ \`l'§ §§DW\»Q knnd D"p gum/114 +'A.n

..?

J
l,”lp\l flaw o fouch dobbs lawler .L,i<>`;t'er~l» l>ova§…

’C.

_\`____-»_._

to do for vc;L;_
‘ l

__M§…BMC!E __(U¢’V»€L vflUrt,S

 

   

,Al:g§gj;l` ,

jim ln.S~€S due 'l‘b -l'l'ns O£Crdlr\‘l' ;{1 m.umei€, ,Fl-_YW¢_¢[( ,?_s alan
l

J
G‘\\'\Cl § mic@f 145 .

 

 

 

 

 

 

-C-ase 4:02-cv-40‘275-.-]EG- Doeument 1 -Fi-|ed-06/12/02 Page 10 of 10

II. Stat arant Reqarding l.sslstance ;n Prepa:;ng Tn;s
A- Dii any person ctner than a names pla;ntifi
'ass;st you in greparlng tnis o.plai:t? Yes

E. l; yot answet is YES name the person ute

 

 

C E;;natt:e or etson wno hel pad prepare l
¥\C
51 netn:e) (
VZII. Signa:;rens) o“ Ela;n";f§(s)

\

`\f\/l. G’\,Ui)

 

 

 

 

